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                                                                               APPEAL,JYTRL,PROTO
                              U.S. District Court
                     Southern District of Georgia (Augusta)
             CIVIL DOCKET FOR CASE #: 1:19−cv−00008−JRH−BKE

Anderson v. Wilco Life Insurance Company                       Date Filed: 01/11/2019
Assigned to: Chief Judge J. Randal Hall                        Date Terminated: 08/13/2020
Referred to: Magistrate Judge Brian K. Epps                    Jury Demand: Both
Demand: $5,000,000                                             Nature of Suit: 110 Insurance
Case in other court: USCA for the Eleventh Circuit,            Jurisdiction: Diversity
                     19−90009−Q
Cause: 28:1441 Notice of Removal−Insurance Contract
Plaintiff
Vanessa Anderson                              represented by Leroy Weathers Brigham
individually and on behalf of a class of                     Bell & Brigham
similarly situated persons                                   457 Greene Street
TERMINATED: 08/13/2020                                       Augusta, GA 30901
                                                             706−722−2014
                                                             Fax: 706−722−7552
                                                             Email: lee@bellbrigham.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                               Charles A. McCallum , III
                                                               McCallum, Hoaglund, Cook & Irby, LLP
                                                               905 Montgomery Hwy.
                                                               Suite 201
                                                               Vestavia Hills, AL 35216
                                                               205−824−7767
                                                               Email: cmccallum@mhcilaw.com
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               R. Brent Irby
                                                               McCallum, Hoaglund, Cook & Irby, LLP
                                                               905 Montgomery Hwy.
                                                               Suite 201
                                                               Vestavia Hills, AL 35216
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                                                               Fax: 205−824−7768
                                                               Email: birby@mhcilaw.com
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
                                              represented by

                                                                                                      1
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Wilco Life Insurance Company                               Carl C. Scherz
TERMINATED: 08/13/2020                                     Locke Lord LLP
                                                           2200 Ross Ave
                                                           Suite 2800
                                                           Dallas, TX 75201
                                                           214−740−8000
                                                           Email: cscherz@lockelord.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Elizabeth J. Campbell
                                                           Locke Lord, LLP
                                                           Terminus 200
                                                           3333 Piedmont Road, NE
                                                           Suite 1200
                                                           Atlanta, GA 30305
                                                           404−870−4600
                                                           Fax: 404−872−5547
                                                           Email: ecampbell@lockelord.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Anna K. Finger
                                                           Locke Lord LLP
                                                           2200 Ross Ave
                                                           Suite 2800
                                                           Dallas, TX 75201
                                                           214−740−8000
                                                           Email: anna.k.finger@lockelord.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Taylor F. Brinkman
                                                           Locke Lord LLP
                                                           2200 Ross Avenue
                                                           Suite 2800
                                                           Dallas, TX 75201
                                                           214−740−8442
                                                           Email: tbrinkman@lockelord.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED


 Date Filed   #   Page Docket Text
 01/11/2019   1        NOTICE OF REMOVAL by Wilco Life Insurance Company from Superior
                       Court of Columbia County, Georgia, case number 2018ECV0446. (Filing fee $
                       400 receipt number 113J−2517310). (Attachments: # 1 Superior Court Filings,
                       Complaint, Exhibits, Summons, # 2 Civil Cover Sheet)(pts) (Entered:
                       01/14/2019)
 01/14/2019   2
                                                                                                     2
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                  RULE 26(f) ORDER. Signed by Magistrate Judge Brian K. Epps on 1/14/2019.
                  (Attachments: # 1 Blank Forms) (pts) (Entered: 01/14/2019)
01/14/2019    3   Removal NOTICE to All Counsel of Record. (pts) (Entered: 01/14/2019)
01/14/2019        Set/Reset Deadlines: Wilco Life Insurance Company answer due 1/18/2019.
                  Notice of Appearance due by 1/24/2019. (thb) (Entered: 01/14/2019)
01/15/2019    4   NOTICE of Appearance by Elizabeth J. Campbell on behalf of Wilco Life
                  Insurance Company (Campbell, Elizabeth) (Entered: 01/15/2019)
01/15/2019    5   Disclosure Statement pursuant to Local Rule 7.1.1 by Wilco Life Insurance
                  Company. (Campbell, Elizabeth) (Entered: 01/15/2019)
01/15/2019    6   Consent MOTION for Extension of Time to File Answer or Otherwise Respond
                  to the Complaint by Wilco Life Insurance Company. Responses due by
                  1/29/2019. (Campbell, Elizabeth) (Entered: 01/15/2019)
01/15/2019        MOTION REFERRED: 6 Consent MOTION for Extension of Time to File
                  Answer or Otherwise Respond to the Complaint. (thb) (Entered: 01/15/2019)
01/16/2019    7   ORDER granting 6 Motion for Extension of Time to Answer re [1−1]
                  Complaint. Wilco Life Insurance Company answer due 2/19/2019. Signed by
                  Magistrate Judge Brian K. Epps on 01/16/2019. (jlh) (Entered: 01/16/2019)
01/17/2019    8   NOTICE of Appearance by Leroy Weathers Brigham on behalf of Vanessa
                  Anderson (Brigham, Leroy) (Entered: 01/17/2019)
01/23/2019    9   MOTION for Leave to Appear Pro Hac Vice of Charles A. McCallum, III,
                  Receipt Number 113J−2525345, Fee Amount $200, by Vanessa Anderson.
                  Responses due by 2/6/2019. (Attachments: # 1 Exhibit Certificate of good
                  standing, # 2 Text of Proposed Order)(Brigham, Leroy) Modified on 1/23/2019
                  (thb). (Entered: 01/23/2019)
01/23/2019   10   MOTION for Leave to Appear Pro Hac Vice of Robert Brent Irby, Receipt
                  Number 113J−2525352, Fee Amount $200, by Vanessa Anderson. Responses
                  due by 2/6/2019. (Attachments: # 1 Exhibit certificate of good standing, # 2
                  Text of Proposed Order)(Brigham, Leroy) Modified on 1/23/2019 (thb).
                  (Entered: 01/23/2019)
01/23/2019   11   Disclosure Statement pursuant to Local Rule 7.1.1 by Vanessa Anderson.
                  (Brigham, Leroy) (Entered: 01/23/2019)
01/23/2019        MOTIONS REFERRED: 10 MOTION for Leave to Appear Pro Hac Vice of
                  Robert Brent Irby, Receipt Number 113J−2525352, Fee Amount $200, 9
                  MOTION for Leave to Appear Pro Hac Vice of Charles A. McCallum, III,
                  Receipt Number 113J−2525345, Fee Amount $200. (thb) (Entered: 01/23/2019)
01/24/2019   12   TEXT ORDER granting 9 Motion for Leave to Appear Pro Hac Vice as to
                  Vanessa Anderson, and finding the requirements in Local Rule 83.4 have been
                  satisfied. Signed by Magistrate Judge Brian K. Epps on 1/24/2019. (cjc)
                  (Entered: 01/24/2019)
01/24/2019   13   TEXT ORDER granting 10 Motion for Leave to Appear Pro Hac Vice as to
                  Vanessa Anderson, and finding the requirements in Local Rule 83.4 have been
                  satisfied. Signed by Magistrate Judge Brian K. Epps on 1/24/2019. (cjc)
                  (Entered: 01/24/2019)
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01/28/2019   14   Litigants' Bill of Rights by Vanessa Anderson. (McCallum, Charles) (Entered:
                  01/28/2019)
02/04/2019   15   MOTION for Leave to Appear Pro Hac Vice for Anna K. Kinger Receipt
                  Number 113J−2533350, Fee Amount $200, by Wilco Life Insurance Company.
                  Responses due by 2/18/2019. (Attachments: # 1 Exhibit Certificate of Good
                  Standing, # 2 Text of Proposed Order)(Campbell, Elizabeth) (Entered:
                  02/04/2019)
02/04/2019   16   MOTION for Leave to Appear Pro Hac Vice for Taylor Brinkman Receipt
                  Number 113J−2533358, Fee Amount $200, by Wilco Life Insurance Company.
                  Responses due by 2/18/2019. (Attachments: # 1 Exhibit Certificate of Good
                  Standing, # 2 Text of Proposed Order)(Campbell, Elizabeth) (Entered:
                  02/04/2019)
02/04/2019   17   MOTION for Leave to Appear Pro Hac Vice for Carl Scherz Receipt Number
                  113J−2533360, Fee Amount $200, by Wilco Life Insurance Company.
                  Responses due by 2/18/2019. (Attachments: # 1 Exhibit Certificate of Good
                  Standing, # 2 Text of Proposed Order)(Campbell, Elizabeth) (Entered:
                  02/04/2019)
02/05/2019        MOTIONS REFERRED: 17 MOTION for Leave to Appear Pro Hac Vice for
                  Carl Scherz, Receipt Number 113J−2533360, Fee Amount $200, 16 MOTION
                  for Leave to Appear Pro Hac Vice for Taylor Brinkman, Receipt Number
                  113J−2533358, Fee Amount $200, 15 MOTION for Leave to Appear Pro Hac
                  Vice for Anna K. Kinger, Receipt Number 113J−2533350, Fee Amount $200.
                  (thb) (Entered: 02/05/2019)
02/05/2019   18   TEXT ORDER granting 17 Motion for Leave to Appear Pro Hac Vice. Signed
                  by Magistrate Judge Brian K. Epps on 2/5/2019. (cjc) (Entered: 02/05/2019)
02/05/2019   19   TEXT ORDER granting 16 Motion for Leave to Appear Pro Hac Vice. Signed
                  by Magistrate Judge Brian K. Epps on 2/5/2019. (cjc) (Entered: 02/05/2019)
02/05/2019   20   TEXT ORDER granting 15 Motion for Leave to Appear Pro Hac Vice. Signed
                  by Magistrate Judge Brian K. Epps on 2/5/2019. (cjc) (Entered: 02/05/2019)
02/11/2019   21   MOTION to Remand to State Court and Brief in support by Vanessa Anderson.
                  Responses due by 2/25/2019. (Attachments: # 1 Exhibit policy)(Brigham,
                  Leroy) (Entered: 02/11/2019)
02/19/2019   22   MOTION to Dismiss for Failure to State a Claim by Wilco Life Insurance
                  Company. Responses due by 3/5/2019. (Attachments: # 1 Exhibit A −
                  Anderson Policy)(Campbell, Elizabeth) (Entered: 02/19/2019)
02/22/2019   23   Consent MOTION for Extension of Time to 03/11/2019 for Defendant to
                  Respond to Plaintiff's Motion to Remand, by Wilco Life Insurance Company.
                  Responses due by 3/8/2019. (Attachments: # 1 Text of Proposed
                  Order)(Campbell, Elizabeth) (Entered: 02/22/2019)
02/25/2019        MOTION REFERRED: 23 Consent MOTION for Extension of Time to
                  03/11/2019 for Defendant to Respond to Plaintiff's Motion to Remand. (thb)
                  (Entered: 02/25/2019)
02/25/2019        Motion No Longer Referred: 23 MOTION for Extension of Time to File
                  Response/Reply. (thb) (Entered: 02/25/2019)

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02/26/2019   24   ORDER granting 23 Motion for Extension of Time to File Response/Reply re
                  21 MOTION to Remand to State Court and Brief in support. Responses due by
                  3/11/2019. Signed by Chief Judge J. Randal Hall on 02/26/2019. (thb) (Entered:
                  02/26/2019)
03/05/2019   25   MOTION to Stay deadline to respond to Defendant's motion to dismiss 22 or
                  alternative motion for extension by Vanessa Anderson. Responses due by
                  3/19/2019. (Attachments: # 1 Text of Proposed Order)(Brigham, Leroy).
                  (Entered: 03/05/2019)
03/08/2019   26   ORDER granting 25 Motion to Stay. Plaintiff's deadline to respond to
                  Defendant's 22 motion to dismiss is stayed until after the Court enters an Order
                  on Plaintiff's motion to remand. Signed by Chief Judge J. Randal Hall on
                  03/08/2019. (thb) (Entered: 03/08/2019)
03/11/2019   27   RESPONSE to Motion re 21 MOTION to Remand to State Court and Brief in
                  support filed by Wilco Life Insurance Company. (Attachments: # 1 Exhibit A −
                  Declaration of Randy Greenwood)(Campbell, Elizabeth) (Entered: 03/11/2019)
03/19/2019   28   NOTICE of Intent to file reply brief by Vanessa Anderson re 21 MOTION to
                  Remand to State Court and Brief in support. (Brigham, Leroy) (Entered:
                  03/19/2019)
03/19/2019   29   MOTION for Extension of Time to File Response/Reply as to 27 Response to
                  Motion by Vanessa Anderson. Responses due by 4/2/2019. (Attachments: # 1
                  Text of Proposed Order)(Brigham, Leroy) (Entered: 03/19/2019)
03/19/2019   30   ORDER granting 29 Motion for Extension of Time to File Reply brief re 21
                  MOTION to Remand to State Court. Replies due by 4/8/2019. Signed by Chief
                  Judge J. Randal Hall on 03/19/2019. (jlh) (Entered: 03/19/2019)
04/08/2019   31   REPLY to Response to Motion re 21 MOTION to Remand to State Court and
                  Brief in support filed by Vanessa Anderson. (Brigham, Leroy) (Entered:
                  04/08/2019)
06/20/2019   32   ORDER granting 21 Motion to Remand to State Court. The Clerk shall
                  terminate 22 Motion to Dismiss and remand this case to the Superior Court of
                  Columbia County, Georgia. Signed by Chief Judge J. Randal Hall on
                  06/20/2019. (thb) (Entered: 06/20/2019)
06/20/2019   33   CLERK'S JUDGMENT entered in accordance with the Court's Order of June
                  20, 2019. Signed by Chief Judge J. Randal Hall on 06/20/2019. (thb) (Entered:
                  06/20/2019)
07/09/2019   34   Consent MOTION to Stay Court's Order for Remand by Wilco Life Insurance
                  Company. Responses due by 7/23/2019. (Attachments: # 1 Exhibit A − Petition
                  for Permission to Appeal)(Campbell, Elizabeth) (Entered: 07/09/2019)
07/11/2019   35   USCA ORDER granting Respondent's motion for extension of time to and
                  including July 17, 2019, in which to file response to Petitioner's petition for
                  permission to appeal. (Attachments: # 1 Letter from the USCA) (thb) (Entered:
                  07/11/2019)
07/17/2019   36   (VACATED pursuant to 49 Order) ORDER granting 34 Motion to Stay 32
                  Remand Order pending final resolution of Wilco's appeal in the Eleventh
                  Circuit. Signed by Chief Judge J. Randal Hall on 07/17/2019. (thb) Modified on

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                  1/21/2020 (thb). (Entered: 07/17/2019)
08/01/2019   37   USCA ORDER granting Petitioner's motion for leave to file a reply in support
                  of the Petition for Permission to Appeal. (Attachments: # 1 Letter from the
                  USCA) (thb) (Entered: 08/05/2019)
10/21/2019   38   USCA Order granting petition for permission to appeal. (Attachments: # 1
                  USCA Order)(pts) (Entered: 10/21/2019)
10/23/2019        Filing fee for Appeal: $ 505.00, receipt number AUG026958. (thb) (Entered:
                  10/23/2019)
11/19/2019   39   FRAP Certificate of Readiness re: Appeal No. 19−14127−QQ. The entire
                  record is available electronically. (pts) (Entered: 11/19/2019)
12/04/2019   40   USCA Opinion Reversing, Vacating, and Remanding 32 Order to Remand.
                  (Attachments: # 1 USCA Notice)(pts) (Entered: 12/04/2019)
12/26/2019   41   USCA Mandate re 40 . (Attachments: # 1 USCA Notice)(pts) (Entered:
                  12/26/2019)
01/02/2020   42   MOTION to Dismiss for Failure to State a Claim by Wilco Life Insurance
                  Company. Responses due by 1/16/2020. (Brinkman, Taylor) (Entered:
                  01/02/2020)
01/14/2020   43   Consent MOTION for Extension of Time to File Response/Reply as to 42
                  MOTION to Dismiss for Failure to State a Claim by Vanessa Anderson.
                  Responses due by 1/28/2020. (Attachments: # 1 Text of Proposed
                  Order)(Brigham, Leroy) (Additional attachment(s) added on 1/14/2020: # 2
                  Text of Proposed Order) (thb). (Additional attachment(s) added on 1/14/2020: #
                  3 Text of Proposed Order (Correct Proposed Order)) (thb). (Entered:
                  01/14/2020)
01/14/2020   44   ORDER granting 43 Motion for Extension of Time to File Response/Reply re
                  42 MOTION to Dismiss for Failure to State a Claim. Responses due by
                  1/30/2020. Signed by Chief Judge J. Randal Hall on 01/14/2020. (thb) (Entered:
                  01/14/2020)
01/15/2020   45   MOTION for Summary Judgment Based on the Statute of Limitations by Wilco
                  Life Insurance Company. Responses due by 2/5/2020. (Brinkman, Taylor)
                  (Entered: 01/15/2020)
01/15/2020   46   DECLARATION re 45 MOTION for Summary Judgment Based on the Statute
                  of Limitations by Wilco Life Insurance Company. (Brinkman, Taylor) (Entered:
                  01/15/2020)
01/15/2020   47   Statement of Material Facts re 45 MOTION for Summary Judgment Based on
                  the Statute of Limitations by All Defendants. (Brinkman, Taylor) (Entered:
                  01/15/2020)
01/16/2020   48   NOTICE issued re: 45 MOTION for Summary Judgment Based on the Statute
                  of Limitations. Responses due by 2/5/2020. (thb) (Entered: 01/16/2020)
01/21/2020   49   ORDER that the 41 USCA Mandate is made the Order of this Court. The Clerk
                  is directed to vacate the stay of July 17, 2019 (doc. 36 ) and reopen this case. It
                  Is Further Ordered that the parties shall file a Rule 26(f) report within
                  twenty−one (21) days of this Order. Rule 26 Report due by 2/11/2020. Signed
                                                                                                        6
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                  by Chief Judge J. Randal Hall on 01/21/2020. (thb) Modified on 1/21/2020
                  (thb). (Entered: 01/21/2020)
01/30/2020   50   RESPONSE to Motion re 42 MOTION to Dismiss for Failure to State a Claim
                  Plaintiff's Response to Defendant Wilco Life Insurance Company's Renewed
                  Motion to Dismiss Plaintiff's Complaint for Failure to State a Claim filed by
                  Vanessa Anderson. (McCallum, Charles) (Entered: 01/30/2020)
01/31/2020   51   NOTICE of Intent to File Reply Brief by Wilco Life Insurance Company re 42
                  MOTION to Dismiss for Failure to State a Claim. (Brinkman, Taylor)
                  (Entered: 01/31/2020)
02/03/2020   52   MOTION for Extension of Time to File Response/Reply as to 45 MOTION for
                  Summary Judgment Based on the Statute of Limitations (unopposed) by
                  Vanessa Anderson. Responses due by 2/17/2020. (Attachments: # 1 Text of
                  Proposed Order)(Brigham, Leroy) (Entered: 02/03/2020)
02/05/2020   53   ORDER granting 52 Motion for Extension of Time to File Response/Reply re
                  45 MOTION for Summary Judgment. Responses due by 2/19/2020. Signed by
                  Chief Judge J. Randal Hall on 02/05/2020. (jlh) (Entered: 02/05/2020)
02/07/2020   54   Consent MOTION for Extension of Time to File Response/Reply as to 42
                  MOTION to Dismiss for Failure to State a Claim by Wilco Life Insurance
                  Company. Responses due by 2/21/2020. (Attachments: # 1 Text of Proposed
                  Order)(Brinkman, Taylor) (Entered: 02/07/2020)
02/11/2020   55   ORDER granting 54 Motion for Extension of Time to File Response/Reply re
                  42 MOTION to Dismiss for Failure to State a Claim. No further extensions of
                  time will be granted to either party absent a showing of good cause. Reply Brief
                  due by 2/27/2020. Signed by Chief Judge J. Randal Hall on 02/11/2020. (thb)
                  (Entered: 02/11/2020)
02/11/2020   56   Joint MOTION for Extension of Time to File Rule 26(f) Report by Wilco Life
                  Insurance Company. Responses due by 2/25/2020. (Attachments: # 1 Exhibit
                  Declaration of Carl Scherz, # 2 Text of Proposed Order)(Brinkman, Taylor)
                  (Entered: 02/11/2020)
02/14/2020   57   ORDER granting 56 Motion for Extension of Time to File a Rule 26(f) report.
                  The Parties shall have through February 21, 2020 to file their Rule 26(f) report.
                  Signed by Chief Judge J. Randal Hall on 02/14/2020. (thb) (Entered:
                  02/14/2020)
02/19/2020   58   MOTION for Relief Pursuant to Fed.R.Civ.P. 56(d) by Vanessa Anderson.
                  Responses due by 3/4/2020. (Attachments: # 1 Affidavit of Lee
                  Brigham)(Brigham, Leroy) (Entered: 02/19/2020)
02/21/2020   59   REPORT of Rule 26(f) Planning Meeting. (Campbell, Elizabeth) (Entered:
                  02/21/2020)
02/26/2020   60   ORDER staying all discovery in this action pending resolution of Defendant's
                  motion to dismiss and motion for summary judgment. Signed by Magistrate
                  Judge Brian K. Epps on 02/26/2020. (thb) (Entered: 02/26/2020)
02/27/2020   61   REPLY to Response to Motion re 42 MOTION to Dismiss for Failure to State
                  a Claim filed by Wilco Life Insurance Company. (Brinkman, Taylor) (Entered:
                  02/27/2020)

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03/04/2020   62   RESPONSE in Opposition re 58 MOTION for Relief Pursuant to Fed.R.Civ.P.
                  56(d) filed by Wilco Life Insurance Company. (Brinkman, Taylor) (Entered:
                  03/04/2020)
03/19/2020   63   REPLY to Response to Motion re 58 MOTION for Relief Pursuant to
                  Fed.R.Civ.P. 56(d) filed by Vanessa Anderson. (Brigham, Leroy) (Entered:
                  03/19/2020)
05/26/2020   64   Joint MOTION for Entry of Agreed Protective Order by Wilco Life Insurance
                  Company. Responses due by 6/9/2020. (Attachments: # 1 Exhibit Agreed
                  Protective Order)(Brinkman, Taylor) Modified on 6/2/2020 (thb). (Entered:
                  05/26/2020)
05/26/2020        MOTIONS REFERRED: 64 Joint MOTION for Entry of Agreed Protective
                  Order. (thb) (Entered: 05/26/2020)
06/02/2020   65   AGREED PROTECTIVE ORDER. The 64 Joint Motion for Entry of Agreed
                  Protective Order is granted subject to modifications. Signed by Magistrate
                  Judge Brian K. Epps on 06/02/2020. (thb) (Entered: 06/02/2020)
06/30/2020   66   NOTICE by Vanessa Anderson of Supplemental Authorities (Attachments: # 1
                  Exhibit Vogt v. State Farm decision)(Brigham, Leroy) (Entered: 06/30/2020)
08/13/2020   67   ORDER granting 42 Motion to Dismiss. The Clerk is directed to terminate all
                  remaining motions and deadlines, if any, enter judgment dismissing all of
                  Plaintiff's claims with prejudice, and close this case. Signed by Chief Judge J.
                  Randal Hall on 08/13/2020. (thb) (Entered: 08/13/2020)
08/13/2020   68   CLERK'S JUDGMENT entered in accordance with the Court's 67 Order.
                  Signed by Deputy Clerk on 08/13/2020. (thb) (Entered: 08/13/2020)
09/10/2020   69   NOTICE OF APPEAL as to 67 Order on Motion to Dismiss, by Vanessa
                  Anderson. Filing fee $ 505, receipt number AGASDC−2921729. (McCallum,
                  Charles) (Entered: 09/10/2020)




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

VANESSA ANDERSON, individually                §
and on behalf of a class of similarly         §
situated persons,                             §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §      Case No.: 1:19-cv-00008-JRH-BKE
                                              §
WILCO LIFE INSURANCE                          §
COMPANY,                                      §
                                              §
       Defendant.                             §

______________________________________________________________________________

                             NOTICE OF APPEAL
______________________________________________________________________________

       Notice is hereby given that Vanessa Anderson, Plaintiff in the above-named case,

individually and on behalf of a putative class of similarly situated persons, hereby appeals to the

United States Court of Appeals for the Eleventh Circuit from the Order (Doc 67) granting

Defendant’s Renewed Motion to Dismiss that dismissed all of Plaintiff’s claims with prejudice

entered in this action on the 13th day of August, 2020.

DATED: September 10, 2020                            Respectfully submitted,

                                                     /s/ Charles A. McCallum, III
                                                     Charles A. McCallum, III
                                                     (Admitted Pro Hac Vice)
                                                     R. Brent Irby
                                                     Georgia Bar No. 224232
                                                     McCallum, Hoaglund & Irby, LLP
                                                     905 Montgomery Highway, Suite 201
                                                     Vestavia Hills, Alabama 35216
                                                     Telephone: (205)824-7767
                                                     Facsimile: (205)824-7768
                                                     Email: birby@mhcilaw.com
                                                             cmccallum@mhcilaw.com




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                                                     Lee W. Brigham (Ga. Bar No. 081698)
                                                     BELL & BRIGHAM
                                                     Post Office Box 1547
                                                     Augusta, Georgia 30903-1547
                                                     Telephone (706) 722-2014
                                                     Email: lee@bellbrigham.com

                                                    COUNSEL FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        This is to certify that on September 10, 2020, a true and correct copy of the foregoing was
filed with the Clerk of the Court using the CM/ECF system, which automatically notifies counsel
as follows:

Elizabeth Campbell
Georgia Bar No. 349249
Locke Lord LLP
Terminus 200, Suite 1200
333 Piedmont Road NE
Atlanta, Georgia 30305
Telephone: (404)870-4679
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Carl C. Scherz (admitted pro hac vice)
Taylor Brinkman (admitted pro hac vice)
Anna K. Finger (admitted pro hac vice)
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Facsimile: (214)740-8800
Email: cscherz@lockelord.com
        tbrinkman@lockelord.com
        anna.k.finger@lockelord.com

                                                     /s/ Charles A. McCallum, III
                                                     COUNSEL




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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION


VANESSA ANDERSON,
Individually and on Behalf
of a Class of Similarly
Situated Persons,

                                            *
         Plaintiff,
                                            *                            CV 119-008
                                            *
               V.
                                                ■k



WILCO LIFE INSURANCE COMPANY,                   *
                                                *


         Defendant.                             *



                                        ORDER




         Before the Court is Defendant Wilco Life Insurance Company's

renewed motion to dismiss.              (Doc.        42. )   For the following reasons,

the motion is granted.




                                   I.      BACKGROUND



A.    Procedural History


         Plaintiff Vanessa Anderson is a Georgia citizen residing in

Columbia County, Georgia.           (See Compl., Doc.             1-1, SI 4. )   Plaintiff

filed this action alleging a breach of contract and a breach of

the     implied covenant      of good faith and fair dealing on her own

behalf and on behalf of those similarly situated.                          (See generally

id. )     These allegations are based on Defendant's large increases




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to the   cost of insurance       premiums,     increases    which   Plaintiff

contends are not permitted under her life insurance policy with

Defendant.   (See id., at 17-19.)      Defendant is an insurance company

domiciled in Indiana and removed this case pursuant to the Class

Action Fairness Act ("CAFA"), 28 U.S.C. §§ 1332(d), 1453(b), 1711-

1715, and traditional diversity jurisdiction.              (See Compl., SI 5;

Notice of Removal, Doc. 1, at 1, 3-6.)


     Plaintiff moved to remand to state court, arguing that CAFA's

$5 million amount in controversy threshold was not met.             This Court

granted the motion to remand, but the United States Court of

Appeals for the Eleventh Circuit reversed and remanded; it ruled

that the face    value    of the insurance       policy is the      amount in

controversy and thus the amount in controversy threshold was met.

(See Doc. 40, at 20.)         The case is again before this Court as

Defendant moves to dismiss the Complaint for failing to state a

claim.


B. The Insurance Policy


     This    Court's   June   20,   2019    Order   explains     the   general

operation of the ^'Universal Life" insurance policy at issue.                 (See

Order of June 20, 2019, Doc. 32, at 2-5.)             The grounds on which

Defendant may increase certain Cost of Insurance (""COI") rates are

at issue in the pending motion.




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     Page four of the policy is titled ''Policy Data Page," and

consists   of   a   table   of "Guaranteed    Monthly    Cost   of   Insurance

Rates."    (See Insurance Policy, Doc. 22-1, at 4.)^                 The table

relates the insured's attained age, the policy year, and a COI

rate per $1,000.      (See id.)   Below the table, a paragraph reads in

relevant part:


     Actual monthly cost of insurance      rates will be
     determined by the company based on the policy cost
     factors described in your policy. However, the actual
     cost of insurance rates will not be greater than those
     shown above.


(Id. (emphasis added).)       This paragraph is hereinafter referred to

as the "Policy Data Page" paragraph.         Plaintiff bases her argument

on the emphasized portion of this paragraph, discussed further

below.



     Page thirteen of the policy contains a provision titled "Cost

of Insurance Rates."        (See id., at 13.)     The provision states in

relevant part:


     The guaranteed monthly cost of insurance rates for the
     policy are based on the insured's sex, attained age and
     premium class on the date of issue. . . . These rates
     are shown on a Policy Data Page.

     Current monthly cost of insurance rates        will be
     determined by the Company. The current monthly cost of
     insurance rates will not be greater than the guaranteed




^ These page numbers refer to those on the policy and not to the
page numbers assigned by CM/ECF.



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       monthly cost of insurance rates which are listed on a
       Policy Data Page.


(Id.   (emphasis     added).}       The   first    of   these   paragraphs    is

hereinafter referred to as the ''Guaranteed Monthly Cost" paragraph

and the second as the "Current Monthly Cost" paragraph.


       Finally,    there   is   a   policy    provision    called   "Cost     of

Insurance."       (See id., at 12.)       This provision explains how the

monthly cost of insurance is calculated as a function of the

monthly COI rate, the insured's death benefit at the beginning of

the policy month divided by a constant, and the Accumulation Value^

at the beginning of the policy month.             (See id.)


       Defendant argues that increases in current monthly COI rates

are up to its discretion so long as the rate is not higher than

the guaranteed monthly COI rate.             Plaintiff argues that any COI

rate increase must be "based on the policy cost factors described

in [the] policy," citing to that language in the Policy Data Page

paragraph.    More specifically. Plaintiff contends that Defendant

can only consider sex, attained age and premium class, all of which

relate to "mortality risk," when increasing the monthly COI rate.




2 The definition of the Accumulation Value is not relevant to the
pending motion.




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                                II.    LEGAL STANDARD



       A motion to dismiss a complaint does not test whether the

plaintiff      will   ultimately prevail on          the     merits    of the    case.

Rather, it tests the legal sufficiency of the pleading.                     Scheur v.

Rhodes, 416 U.S. 232, 236 (1974), abrogated on other grounds by

Davis V. Scherer, 468 U.S. 183, 191 (1984).                  Therefore, the Court

must accept as true all facts alleged in the complaint and construe

all   reasonable      inferences      in   the   light     most    favorable    to   the

plaintiff.      See Hoffman-Puqh v. Ramsey, 312 F.3d 1222, 1225 (11th

Cir. 2002).      The Court, however, need not accept the pleading's

legal conclusions as true, only its well-pleaded facts.                        Ashcroft

V.    Iqbal,   556    U.S.    662,    677-79     (2009).      When    analyzing      the

sufficiency of a complaint, courts are limited to the "well-pleaded

factual allegations, documents central to or referenced in the

complaint, and matters judicially noticed."                       La Grasta v. First

Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).

       A complaint must "contain sufficient factual matter, accepted

as true, 'to state a claim to relief that is plausible on its

face.'"     Id. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).            The plaintiff is required to plead "factual

content that allows the court to draw                 the reasonable inference

that the defendant is liable for the misconduct alleged."                            Id.

Although there is no probability requirement at the pleading stage,

"something      beyond [a] mere        possibility . . . must          be   alleged."

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Twombly^ 550 U.S. at 557-58 (citing Duma Pharm., Inc. v. BroudO;.

544 U.S. 336, 347 (2005)).          When, however, based on a dispositive

issue of law, no construction of the factual allegations of the

complaint    will     support      the   cause   of   action,       dismissal   is

appropriate.       See Exec. 100, Inc. v. Martin Cty., 922 F.2d 1536,

1539 (11th Cir. 1991).




                                   III. DISCUSSION



A. Insurance Policies in Georgia

    "Whenever the language of a contract is plain, unambiguous,

and capable of only one reasonable interpretation, no construction

is required or even permissible, and the contractual language used

by the parties must be afforded its literal meaning."                  First Data

PCS, Inc. V. Willis, 546 S.E.2d 781, 784 (Ga. 2001).                  Only when a

contract    is    ambiguous   do    courts   apply    the   rules    of   contract

construction to resolve the ambiguity.            See Citrus Tower Boulevard

Imaging Ctr., LLC v. Owens, 752 S.E.2d 74, 81 (Ga. Ct. App. 2013).

An ambiguous contract "leave[s] the intent of the parties in

question." Id. (quoting Coleman v. Arrinqton Auto Sales & Rentals,

669 S.E.2d 414, 416 (Ga. Ct. App. 2008)).

     Under       Georgia   law,    insurance     contracts    are     interpreted

through the ordinary rules of contract construction with the goal

of ascertaining the intention of the parties.                  See Progressive




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Preferred    Ins.   Co.   v.   Brown,    413    S.E.2d     430,   431    (Ga.    1992);

O.C.G.A. § 13-2-3.        When interpreting a particular contractual

provision, it must be considered in the context of the entire

contract.    See Caradigm USA LLC v. PruittHealth, Inc.,                       F.3d    ,

2020 WL 3886018 (11th Cir. 2020) (citing O.C.G.A. § 13-2-2(4)).

The Court must read an insurance policy ""as a layman would read it

and not as it might be analyzed by an insurance expert or an

attorney."    U.S. Fire Ins. Co v. Hilde, 322 S.E.2d 285, 288 (Ga.

Ct. App. 1984) (quotation omitted).              Finally, any ambiguity in an

insurance policy will be construed against the drafter.                    (See id.)

B. The Universal Life Policy and Its CGI Provisions

      This case revolves around the interpretation and interaction

of three paragraphs in the Universal Life insurance policy.                           The

three paragraphs relate to how the CGI rates are determined and

are included in relevant part above.                 Defendant argues that the

Current Monthly Cost paragraph explicitly permits it to determine

the monthly cost so long as it is no greater than the guaranteed

monthly cost.       Defendant notes that the factors in the Guaranteed

Monthly Cost paragraph - sex, attained age, and premium class -

apply only to the calculation of the guaranteed monthly CGI rate

and not to the current monthly CGI rate.

      Plaintiff interprets the policy differently.                 She argues that

the ''based on" language in the Policy Data Page paragraph permits

CGI   rate   changes   only when        based   on   the    policy      cost    factors




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described in the policy.               She then argues that the only policy

cost   factors     present       in    the   policy      are     those    found    in    the

Guaranteed      Monthly    Cost       paragraph,       namely,    the    insured's      sex,

attained    age,   and    premium       class     on    date    of   issue.       Finally,

Plaintiff    alleges      that    Defendant       increased       the    COI    rates   for

reasons other than those three "'mortality factors."                           (See PI.'s

Resp. to Def.'s Mot, to Dismiss, Doc. 50, at 7-8.)

       Courts    have     reached       varying        conclusions       in    considering

similar    disputes      involving       universal       life    insurance       policies.

Compare Coffman v. Pruco Life Ins. Co., No. lO-CV-03663, 2011 WL

4550152, at *3 (D.N.J. Sept. 29, 2011) (interpreting insurance

policy to give discretion to insurer when calculating costs so

long as the cost was below the guaranteed rate.); Baymiller v.

Guarantee Mut. Life Co., No. SA CV 99-1566, 2000 WL 1026565, at *2

(C.D. Cal. May        3, 2000.) (interpreting insurance                       policy    with

monthly and guaranteed rate structure to give insurer discretion

when determining rates below guaranteed rate); with Fleisher v.

Phoenix Life Ins. Co., 18 F. Supp. 3d 456, 470-71 (S.D.N.Y. 2014)

(interpreting "based on" to require insurer to use only factors

included in policy when determining rates); Voqt v. State Farm

Life Ins. Co., 963 F.3d 753, 763-64 (8th Cir. 2020) (same).

       There are other cases beyond those listed above that have

discussed the issue.         However, the policies in the cases Plaintiff

relies on for her reading of the phrase "based on" share a crucial




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similarity that distinguish them from the policy in this case.

The provisions in those policies governing how the monthly or

current cost rate is determined explicitly include language that

the rate will be based on mortality or other factors included in

that provision.     The policy in this case does not.

     There is only one reasonable reading of the policy in this

case: The current monthly COI rate is, as stated in the policy,

^'determined by the Company," so long as it is not greater than the

guaranteed monthly COI rate.          It is the guaranteed COI rate that

is "based on the insured's sex, attained age and premium class on

the date of issue."        The Policy Data Page's language relating to

"policy cost factors described in your policy" cannot be read to

graft    the   mortality    factors    in   the   Guaranteed     Monthly   Cost

Paragraph onto the Current Monthly Cost paragraph.                 Under this

unambiguous reading the Complaint fails to state a claim because

it was within Defendant's discretion to determine monthly COI rates

below the guaranteed rate.

        Finally,   to   the    extent       Plaintiff   argues     that       this

interpretation renders the Policy Data Page paragraph meaningless,

that is not so.         The Policy Data Page paragraph notifies the

insured that his or her actual monthly COI rate may be different

from the guaranteed rates shown in the table, and that the policy

will explain how the actual rate is determined.            And, as the Court

has concluded, the plain language of the Current Monthly Cost




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paragraph    gives   Defendant   discretion    to   increase   monthly      COX

rates.




                              IV.   CONCLUSION



        Upon the foregoing. Defendant's motion to dismiss (Doc. 42)

is GRANTED.     The Clerk is directed to TERMINATE all remaining

motions and deadlines, if any, ENTER JUDGMENT dismissing all of

Plaintiff's claims with prejudice, and CLOSE this case.


     ORDER ENTERED at Augusta, Georgia this /J^dav of
2020.


                                                    (/'



                                           . EfANDlAL^HALL/l2SlEF JUDGE
                                           INITJJ7 STATES DISTRICT COURT
                                          SOUTHERN   DISTRICT OF GEORGIA




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                          6/03) Judgment in a Civil Case



                                           United States District Court
                                                    Southern District of Georgia
                  VANESSA ANDERSON,
                  Individually and on Behalf
                  of a Class of Similarly
                  Situated Persons,                                                 JUDGMENT IN A CIVIL CASE
                              Plaintiff,

                                               V.                                 CASE NUMBER:        CV 119-008

                  WILCO LIFE INSURANCE COMPANY,

                             Defendant.




                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, in accordance with the Court's Order of August 13, 2020, Defendant's Motion to Dismiss

                     is GRANTED. All of Plaintiff's claims are dismissed with prejudice, and this civil action stands

                     CLOSED.




            08/13/2020                                                          John E. Triplett, Acting Clerk
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk                                   21
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